Case 2:04-cv-02913-SHI\/|-dkv Document 12 Filed 05/12/05 Page 1 of 2 Page|D 17

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

VINCENT D. GLOVER,
Plaintiff,
v. CV. NO. 04-2913-Ma

MEMPHIS & SHELBY COUNTY HEALTH
DEPARTMENTl

Defendant.

J'UDGMENT

Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed in
accordance with the Order of Dismissal, docketed April 25, 2005.

APPROV:N VMW

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

uaw u,, mr aca-EF:TH.D:THOLK)

DATE CL K
M@W

(By) DEPUTY CLERKU

 

 

 

H S{l[}(',U elte w edoli. edocketbi ethlCO il a Ce

mm Ru\e 58 and/or 79(3) FHCP on »' ©

l`) sATEs DISTRCIT OURT - WESTENR D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:04-CV-02913 Was distributed by faX, mail, or direct printing on
May 13, 2005 to the parties listed.

 

 

Eugene C. Gaerig

LAW OFFICES OF EUGENE C. GAERIG
100 N. Main Street

Ste. 31 18

1\/1emphis7 TN 38103

Vincent D. Glover
321 1 Velmagi Street
1\/1emphis7 TN 38128

Honorable Samuel Mays
US DISTRICT COURT

